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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                                 MACON DIVISION



UNITED STATES OF AMERICA                    :
                                            :   DOCKET NO. 5:16-CR-1 (MTT)
              VS.                           :
                                            :
MARIA E. TRENAM                             :
                                            :

                             FINAL ORDER OF FORFEITURE

       On October 3, 2016, pursuant to 18 U.S.C. § 982(a)(7), 18 U.S.C. ' 3554, and

Federal Rule of Criminal Procedure 32.2(b), this Court entered a Preliminary Order of

Forfeiture against Maria E. Trenam.

       Pending now before the Court is the United States= Motion and Memorandum for

Final Order of Forfeiture.

       The Court hereby makes the following FINDINGS OF FACT AND CONCLUSIONS

OF LAW:

       1.     This Court has jurisdiction of this matter pursuant to 18 U.S.C. ' 3231, and

venue is proper pursuant to 18 U.S.C. ' 3232 and FED. R. CRIM. P. 18.

       2.     The United States has furnished due and legal notice of these proceedings

as required by law by sending direct notice to any person, other than the Defendant, that

may have or claim a legal interest in the subject property, and by causing publication of

notice of forfeiture and the intent of the United States to dispose of the property in

accordance with the law.
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       3.     The notice of forfeiture provided that any persons or entities having or

claiming a legal right, title or interest in the property, within thirty (30) days of receipt of

the notice, or no later than sixty (60) days from the first day of publication on the official

internet government forfeiture website, www.forfeiture.gov, whichever is earlier, must

petition the United States District Court for the Middle District of Georgia for a hearing to

adjudicate the validity of his or her alleged interest in the property pursuant to 21 U.S.C.

' 853(n), as incorporated by 18 U.S.C. ' 982(b)(1).

       4.     On December 28, 2016, Third-Party Petitioner EverBank, FSA, through

their counsel of record, Gregory M. Taube, Esq., filed a timely petition asserting an

interest in the real property located at 122 Henry Street, Warner Robins, Houston County,

Georgia [Doc. 47]. An Expedited Settlement Agreement and Release of Claims [Doc.

49] was filed by the parties on March 7, 2017.

       5.     Based on the Expedited Settlement Agreement and Release of Claims for

the real property located at 122 Henry Street, Warner Robins, Houston County, Georgia,

the Count entered a Consent Order on March 8, 2017, recognizing the agreement made

between the United States and EverBank, FSA for the release of a total amount of

$17,370.95, plus the accrual of additional interest, and other additional fees set forth as

specified in (a) – (f) of this paragraph, after payment of outstanding taxes, and the

expenses of custody and sale incurred by the United States Marshals Service as follows:

              a.      All unpaid principal due to EverBank in the amount of $10,160.77 as

                      of February 28, 2017, pursuant to the Promissory Note (“Note”) dated

                      on or about July 25, 2003, made by Maria Trenam “(Trenam”) to


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            Market Street Mortgage Corporation, which was secured by a

            Security Deed executed by Trenam on or about July 31, 2003, in

            favor of Market Street Mortgage Corporation with Mortgage

            Electronic Registration Systems, Inc. as grantee, recorded July 31,

            2003, in the official records of Houston County, Georgia, at Deed

            Book 2660, Page 2-17, and later transferred and endorsed in favor

            of EverBank by that certain Assignment of Mortgage/Security Deed

            from Mortgages Electronic Registration Systems, Inc. as nominee for

            Market Street Mortgage Corporation, recorded February 22, 2016, at

            Deed Book 7080, Page 260, in the Houston County, Georgia

            Records;

      b.    All unpaid interest at the base contractual rate (not the default rate)

            under the Note, in the amount of $706.21 as of February 28, 2017,

            plus interest at the annual rate of 5.25 from March 1, 2017, until the

            date of Payment;

      c.    All casualty insurance premiums paid by EverBank in the amount of

            $1,069.00, good through July 30, 2017, and any additional payments

            made by EverBank up to the date of the Payment;

      d.    Other escrow advance items in the amount of $775.09, and any

            additional escrow advances up to the date of the Payment;

      e.    All late charges in the amount of $344.88 as of February 28, 2017;

            and


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              f.     All recoverable expenses in the amount of $4,315.00 as of February

                     28, 2017, and all additional recoverable expenses up to the date of

                     the Payment.

       6.     Additionally, the Consent Order provided for the release of the real property

by the United States to Petitioner EverBank, FSA in the event any proposed sale would

be insufficient to pay Petitioner EverBank, FSA’s secured interest in full satisfaction,

including payment of outstanding taxes, and the expenses of custody and sale incurred

by the United States Marshals Service, in accordance with the Expedited Settlement

Agreement and Release of Claims

       7.     No other persons or entities filed third-party petitions asserting claims or

interests in the property subject to forfeiture, and the time for filing such petitions has now

expired.

       THEREFORE IT IS HEREBY ORDERED THAT:

       1.     The United States Marshals Service shall coordinate the release of the

funds in the amount of $17,370.95, plus the accrual of additional interest, and other

additional fees as specified in (a) – (f) of paragraph five above, after payment of

outstanding taxes, and the expenses of custody and sale incurred by the United States

Marshals Service, payable jointly to Third-Party Petitioner EverBank, FSA, and their

counsel Gregory M. Taube, Esq., 201 17th Street, NW, Suite 1700, Atlanta, Georgia,

30363, in full and final satisfaction of any and all claims which EverBank, FSA may have

or hereinafter have in the property to wit: real property located at 122 Henry Street,




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Warner Robins, Houston County, Georgia, and any appurtenances and improvements

thereon.

       2.     Alternatively, if it is determined that the proceeds from any proposed sale

of the real property located at 122 Henry Street, Warner Robins, Houston County,

Georgia, would be insufficient to pay Petitioner EverBank, FSA in full as set forth in the

Consent Order, including, payment of outstanding taxes, and the expenses of custody

and sale incurred by the United States Marshals Service, the United States shall release

its interest in the real property to Petitioner EverBank, FSA, in accordance with the

Expedited Settlement Agreement and Release of Claims.

       3.     Except as provided in paragraphs one and two on this page, the Court’s

October 3, 2016, Preliminary Order of Forfeiture is final and all right, title, and interest in

the following described property is hereby forfeited to and vested in the United States, to

be disposed of in accordance with the law:

       MONEY JUDGMENT

       A.     A personal money judgment in the amount of one million, one hundred

              seventy-eight thousand, seven hundred thirty-six dollars and ninety cents

              ($1,178,736.90), which represents the total amount of the gross proceeds

              traceable, directly or indirectly, to the offense(s) charged in Count One of

              the Indictment, that is: Use of Wires to Further a Scheme to Defraud.

       BANK ACCOUNT

       B.     All United States currency, funds, and other monetary instruments credited

              to Bank Account Number 0003614716714, in the name of Maria E. Trenam


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      or Robert H. Wallace, or Kaitlin Trenam, located at Suntrust Bank, 1903

      Watson Boulevard, Warner Robins, Georgia, 31093;

CONVEYANCE

C.    One     (1)   2012     Toyota       Camry,   Hybrid    XLE     Sedan,   VIN:

      4T1BD1FK5CU031927, titled in the name of Kaitlin Trenam Fox;

JEWELRY

D.    One (1) white gold diamond ring, approximately 1.85 carats in total weight,

      .85 carats cushion cut; and

REAL PROPERTY

E.    The property located at located at 122 Henry Street, Warner Robins,

      Houston County, Georgia, and any appurtenances and improvements

      thereon, which is more particularly described as:

      All that tract or parcel of land lying and being in Land Lot 145,
      5th Land District, Houston County, Georgia, being known and
      designated as Parcel A-1-A, containing 0.47 acres, more or
      less, of a resubdivision of Parcel “A”, Buford S Self Property,
      according to a plat of survey prepared by Broxton &
      Associates, dated July 2, 1980, recorded in Plat Book 23,
      Page 162, Clerk’s Office, Houston Superior Court. Said plat
      and the recorded copy thereof are hereby incorporated for all
      purposes.

      Also
      All that tract or parcel of land lying and being in Land Lot 145,
      5th Land District, Houston County, Georgia, being known and
      designated as Parcel A-2-A, containing 0.01 acres, more or
      less, of a resubdivision of Parcel “A”, Buford S Self Property,
      according to a plat of survey prepared by Broxton &
      Associates, dated July 27, 1979, recorded in Plat Book 23,
      Page 43, Clerk’s Office, Houston Superior Court. Said plat
      and the recorded copy thereof are hereby incorporated for all
      purposes.

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       4.     The Court shall retain jurisdiction in the case for the purpose of enforcing

this Order.
                                                   June
       SO ORDERED, this 2nd           day of                              , 2017.

                                    S/ Marc T. Treadwell
                                   MARC T. TREADWELL, JUDGE
                                   UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF GEORGIA

PREPARED BY:

G. F. PETERMAN, III
UNITED STATES ATTORNEY

s/ DANIAL E. BENNETT
ASSISTANT UNITED STATES ATTORNEY
GEORGIA STATE BAR NO. 052683




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